
















COURT OF APPEALS


THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


                                                                                                                      


NUMBER 13-09-00112-CR


CHADRICK B. PATE,								 Appellant,


v.


THE STATE OF TEXAS,							  Appellee.

                                                                                                                       


On appeal from the 36th District Court

of Aransas County, Texas.

                                                                                                                       


NUMBER 13-09-00149-CR


CHRISTOPHER JOSEPH HALL,						 Appellant,


v.


THE STATE OF TEXAS,							  Appellee.

                                                                                                                       


On appeal from the 36th District Court

of Aransas County, Texas.

                                                                                                                       


MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Yañez and Garza


Memorandum Opinion by Justice Garza



	We withdraw our memorandum opinion and judgments of August 25, 2010, and
substitute the following in its place.

	Appellants, Chadrick B. Pate and Christopher Joseph Hall, were convicted of
murder, a first-degree felony.  See Tex. Penal Code Ann. § 19.02 (Vernon 2003).  Pate
and Hall were sentenced to ninety-nine-year prison terms and were each assessed
$10,000 fines.  By four issues, Pate argues on appeal that:  (1) there was insufficient non-accomplice testimony presented at trial; (2) the evidence was legally and factually
insufficient to sustain his conviction under the law of parties; (3) the trial court's jury charge
contained various errors; and (4) the State's attorney made an improper statement during
closing argument.  Hall joins in Pate's fourth issue and part of Pate's third issue and also
contends that the trial court abused its discretion by admitting certain evidence.  We affirm.

I.  Background

	On June 24, 2008, an Aransas County grand jury indicted Pate, Hall, Michael Jason
Underwood, Anthony Lee Ray, and Kevin Ray Tanton on counts of murder and engaging
in organized criminal activity.  See id. §§ 19.02, 71.02 (Vernon Supp. 2009). (1)  The murder
count of the indictment alleged that those individuals, "acting alone and together,"
intentionally or knowingly caused the death of Aaron Watson on or about January 4, 2008
by shooting Watson with a firearm.  After making initial statements to police, Underwood,
Ray, and Tanton entered into agreements with the State whereby they would provide
testimony against Pate and Hall in exchange for recommended sentences of fifteen years'
imprisonment or less.  Pate and Hall were then tried together before a jury over four days
in February 2009.  At trial, the State called twenty-one witnesses to testify against the
defendants, after which the defendants rested without calling any witnesses.  Pate and Hall
were subsequently found guilty of murder, (2) sentenced to ninety-nine years in the
Institutional Division of the Texas Department of Criminal Justice, and ordered to pay
$10,000 fines.  These appeals followed. (3)

II.  The Evidence

A.	Michael Huffman

	Deputy Michael Huffman of the Aransas County Sheriff's Office testified that in the
early morning hours of January 4, 2008, he was dispatched to a trailer residence in Fulton,
Texas, to respond to a disturbance in progress.  He arrived to find a "distraught" and
"screaming" young female "standing in the roadway."  The girl told Deputy Huffman that
"[m]y daddy's been shot" and pointed to the backyard of an adjacent residence, where the
girl's father, Aaron, lay on his side, drifting in and out of consciousness.  Deputy Huffman
observed gunshot wounds on Aaron's lower left abdomen and left leg.  Aaron was
evacuated via helicopter to Christus Spohn Memorial Hospital in Corpus Christi, where he
later died of his injuries.

B.	Michael Brooks

	Michael Brooks, an investigator with the Aransas County Sheriff's Office, testified
that he was also dispatched to the Watsons' trailer in Fulton on the early morning of
January 4, 2008.  Investigator Brooks stated that he had met the victim before and that
"Tracy Watson, [J.W.], [M.W.], Chadrick Pate, [and] Aaron Watson" lived in the trailer "at
one time or another." (4)  He then identified several photographs, which were admitted into
evidence without objection, depicting what he observed when he arrived at the scene. 
Investigator Brooks testified that, "just into the doorway" of the trailer, he found and
collected "two unspent shell casings" and "one spent shell casing" for a .38-caliber firearm. 
He also recovered a "light blue jean, long-sleeve shirt that . . . belonged to the victim" and
a wristwatch from the adjacent backyard, as well as a baseball bat from the front of the
Watsons' trailer, and paperwork from inside the trailer.  According to Investigator Brooks,
the blue shirt had a "bullet hole" and a "small amount of blood" which was later determined
to belong to the victim.

	Investigator Brooks spoke with Tracy "later that morning."  According to Investigator
Brooks, Tracy "gave us some information on some subjects . . . .  She said a couple of
people had came down to take care of a guy named J.R. or help Chad take care of a guy
named J.R. and she gave some name of Ziggy (ph) and a Thunderwood (ph)." (5)  Using this
information, as well as other information obtained from police in Houston, Investigator
Brooks determined that "Thunderwood" referred to Michael Underwood. (6)  Photo arrays
were then presented to J.W. and M.W.; the girls identified Underwood as being present at
the crime scene and Underwood was then arrested.  Underwood gave a statement to
police which led to Pate, Hall, Ray and Tanton being identified as suspects in the case. (7) 
Ray and Tanton were arrested and interviewed by police, and their stories regarding what
happened on the night in question were consistent with Underwood's.  Tanton also
provided information that led to the recovery of a weapon from the bottom of Copano Bay
by a police dive team.  The weapon, a .38-caliber revolver, was introduced into evidence. (8)

	On cross-examination, Investigator Brooks stated that neither Ray nor Tanton were
promised anything in exchange for their initial statements.  He also confirmed that J.W. and
M.W. had given two other names of potential suspects--"Ace" and "Charles"--but that
those individuals had not been identified or located by police.  On re-direct examination,
Investigator Brooks stated that Hall, Pate, and Underwood are members of a prison gang
called the Aryan Circle, and that he believed Ray and Tanton are prospective members of
that gang.  He also stated that an individual named Wayne Scott was mentioned by each
of the suspects as "a high-ranking official" in the Aryan Circle but that police had not done
any investigation as to Scott.  Finally, Investigator Brooks stated that he presented photo
arrays to J.W. and M.W. and both girls identified Hall as having been present at the crime
scene. (9)

	Investigator Brooks, upon being recalled to the stand later in the trial, identified
eighteen photographs that he took during the course of his investigation as depicting Hall. 
The photos were admitted into evidence over defense counsel's objection.

C.	Keith Pikett

	Deputy Keith Pikett of the Fort Bend County Sheriff's Office testified that he is a
"dog handler" and that he has used bloodhounds to make "scent identifications" at crime
scenes "[t]housands" of times.  After Hall's attorney moved to suppress Deputy Pikett's
testimony, the trial court held a hearing on the motion outside the presence of the jury. 
Deputy Pikett then described his methodology:

Well, we take and put out six quart-size paint cans that are numbered so you
can tell one from another.  And we put it so that the wind is crossways so the
scent is not blowing from Can Two into Can Three or One; it's blowing this
way so it's not affecting it.  Then somebody other than myself sets out six
scents of six people and we do it by race and sex, so I ask them and I have
bags of hundreds of whites and blacks and Asians.


And so they pick filler scents and the scents of the potential suspects.  They
place them out in the cans.  I don't know which person's in which can.  And
then we bring the dogs out--I have three of them I'm using in this case--one
at a time.  They're allowed to smell some piece of evidence, and what they're
doing is trying to see [if] the smell on this piece of evidence [is] the same as
the smell on one of these cans.  And the key to this is the dog is given the
same reward if he picks somebody in one of the six cans or if he picks
nobody, they're praised and given a reward.  So they have no reason to just
even pick a can at random.


Deputy Pickett then stated that he had the dogs smell the shell casings found at the scene
of Aaron's murder, and that the dogs then each alerted to a can containing Hall's scent. 
He also performed three tests in which he had the dogs smell the blue denim shirt found
at the crime scene; the dogs unanimously alerted to cans containing Hall's, Ray's, and
Underwood's scents in each of the three tests, respectively. (10)

	On cross-examination, Deputy Pikett admitted that "the dogs are not infallible"; he
also agreed that if the dogs are sick, that might affect their sense of smell, but that he did
not check their health before administering the tests at issue here.  He stated, however,
that in all of the tests he has done, one of the dogs "is now up to twenty-three hundred and
thirty-four cases with [only] two errors and the other dogs have no errors."  The trial court
overruled the defendants' objections and admitted Deputy Pikett's testimony, as well as a
video recording of the tests.

D.	Kevin Tanton

	Tanton stated that he met Underwood while serving time in the Liberty County Jail. 
Underwood was also "involved with Aryan Circle," which Tanton described as "a cross
between a militia group and a prison gang I guess."  Tanton stated that he met Hall at a
Christmas party in 2007.  In January of 2008, Hall drove Tanton and Underwood to Fulton,
Texas, so that the men could help an Aryan Circle member named "Sid" remove several
members of a rival gang from his house.  Tanton stated that Hall had an "oldish revolver"
with him at the time and that Hall had expressed the desire to obtain more firearms in order
to confront the rival gang members.  According to Tanton, the group then met up with Ray
and "Sid."  Tanton then identified Pate in the courtroom as the gang member he knew as
"Sid."  Tanton stated that Pate then told Underwood and Hall how to approach the house
where the rival gang members were without being seen.  According to Tanton, Pate
represented that the house belonged to him.  The group then traveled to the house and
gathered at a small shed nearby.  According to Tanton, Pate "started acting really sketchy
at this point.  He said he was going to pull phone lines.  And when we all took off to go to
the house, [Pate] ran around the house and I didn't see him again, really&nbsp;.&nbsp;.&nbsp;.&nbsp;."  Tanton
stated that "[e]verybody had a weapon at that point" and that Hall in particular was carrying
his revolver.  Tanton identified the revolver pulled from Copano Bay as the one carried by
Hall on the night in question.

	Tanton testified that he, Hall, Underwood, and Ray then approached the house. 
When they entered, Tanton observed "a female standing in front of the door" and a man
"laying on the bed" next to the door.  Tanton and Underwood ushered the girl into a room
and shut the door; they then returned to see Hall and Ray "standing over the guy [in the
bed].  Hall had the gun pointed at him, like, toward his face."  Tanton stated that Ray "was
hitting [the man in the bed with w]hatever he had in his hands, stick, pole type object thing." 
Tanton himself hit the man "when he was crawling away" with a pipe segment he had
found in front of the trailer.  Tanton continued:

As the guy was, like, turning to face off and squirming away, like, trying--he
was, like, trying to get up to get out the door I guess.  Hall--I mean, Hall shot
him.  I mean, actually didn't see the shot, but, you know, he had the gun in
his hand. . . .  And then I see the guy get up and, I mean, I could actually see
the wound, the puncture.


According to Tanton, the group drove away without Pate after the shooting, and as their
vehicle passed over a bridge,

Hall handed me the firearm and told me to throw it out the window. . . . And
then he told me to take off my sock. . . . So I opened it up like this and [Hall]
reached in his coat pocket and he pulled out the bullets and he put the
bullets in my sock and then he told me to throw my sock with the bullets out
the window, too.


Tanton stated that he had since pleaded guilty to aggravated assault for his participation
in the events of January 4, 2008.  He denied that he had been made any deal or
agreement with the State in exchange for his original statement to police.

	On cross-examination, Tanton acknowledged that he knew of individuals in the
Aryan Circle named Scott and "Ace" but denied that he had ever heard of Padgett or
"Doughboy."  Tanton denied that Scott or Padgett participated in the attack on Aaron; he
also denied that Underwood was actually the one carrying the gun that night.  Tanton
agreed with defense counsel that Hall "didn't really mean to shoot" Aaron.  He further
acknowledged that he used methamphetamine on the night in question.

E.	Michael Underwood

	Underwood stated that he was a member of the Aryan Circle and that he knew of
Scott and "Ace" as higher-ranking members in the gang.  Underwood testified that he
traveled with Hall, then his roommate, from Houston to the Watsons' trailer in November
of 2007.  The two made the trip because "[s]upposedly [Pate's] old lady got almost raped
or something like that. . . . [we came down t]o go find the guy who tried to do it." 
Underwood stated that both he and Hall carried .38-caliber handguns at the time.  The two
met up with Ray and continued to the Watsons' trailer, where they met Tracy, J.W., and
M.W. (11)  The group "dr[ove] all over [Fulton] . . . on a wild goose chase" but could not locate
the man they suspected of attempting to rape Tracy.

	Several weeks later, on January 4, 2008, Underwood returned to Fulton because
"[s]upposedly somebody was at Pate's house holding his kids and his old lady hostage or
something."  On his way, Underwood picked up Tanton "[j]ust to have somebody extra
come with us. . . . [bec]ause there was supposed to be more than--more than two guys
at that trailer."  According to Underwood, Hall was carrying the revolver that was later
pulled out of Copano Bay.  Underwood rode with Pate and Ray to what he believed was
Pate's trailer.  Pate was giving the group directions on how to get into the trailer.  When the
group stopped at a shed near the trailer, Pate "[s]aid he wanted the dude there ran off." 
Pate then "went to the side of the house, not the trailer, and did something.  Then he
started walking, like, towards the woods."  Underwood then approached the trailer, at which
point the door was opened by a young girl.  Underwood testified that he saw an unarmed
man, whom he did not recognize, laying on a bed next to the door in the trailer.  He and
Tanton took the girl to a room in the trailer and shut the door.  When Underwood returned,
"everybody was running out the door" and a "muffled" gunshot could be heard.  Underwood
then saw Hall "[h]olding [a gun] in his hand, running."  The group then drove off, with
Tanton throwing a gun and a sock containing bullets off of the Copano Bay bridge.  On
their way back to Houston, Hall "said he shot him [be]cause he kept looking at him" and
"[h]e said he tried to shoot him again and the gun jammed or something."

	Underwood, like Tanton, pleaded guilty to aggravated assault for his participation
in Aaron's killing and denied that he was promised anything by the State in exchange for
his initial statement to police.

	Underwood testified on cross-examination that he once communicated with Padgett
and that he understood that Padgett was also a member of the Aryan Circle.  Underwood
denied defense counsel's suggestion that he borrowed Hall's truck and "met up with Scott
and Ace to take care of Mr. Watson" on January 4, 2008.

F.	Anthony Ray

	Ray stated that he was recruited to become a member of the Aryan Circle while
serving time in the Aransas County Jail, and that he met Pate in 2007.  Ray stated that,
within the gang, his nickname was "Spooky."  According to Ray, in November of 2007, Pate
"had called down Chris Hall and Underwood and they came down and I guess we were
going to--supposed to be going to fight with these guys that were supposedly sexually
assaulting his girlfriend."  However, all the group did was "[j]ust dr[i]ve around aimlessly"
for "several hours."

	Ray testified that on January 4, 2008, Pate told him that "all these guys are there
at the trailer and they're sexually assaulting his girlfriend and that we were going to go over
there and run them off, you know, and Scott is sending down these guys from Houston." 
Ray stated that he visited Padgett's house on that day to pick up some methamphetamine. 
He and Pate then met up with Underwood, Hall, and Tanton in Fulton.  According to Ray,
Pate told the group that "we were going back to that trailer that we had gone to before and
he was just telling us, 'Hey, we're going to go run these dudes off,' you know."  When they
arrived at the trailer, Pate led the group to the shed near the trailer, then "went back
around" the trailer purportedly to cut the trailer's phone lines.  Ray stated that the group
"snuck up to the door" and "the little girl was right there at the door. . . .  It was Underwood
or Tanton that took the two little girls into another room and I guess to keep them out of
danger, you know.  And then it was just me and Chris Hall and whoever else."  Ray saw
a man he did not recognize on the bed near the door; he first realized that Hall had a gun
when Hall sat down next to the man on the bed.  Ray testified that Pate had told him that
Aaron was the name of the person they were looking for.  Hall asked the man on the bed
to state his name; when the man did not comply, Hall "tapped him on the head with the
gun."  Ray "got impatient and . . . punched [the man] in the face" two or three times with
a closed fist.  Ray continued:

Then, well, Chris puts a gun to him.  It looked to me like he put it under his
leg at the time.  I thought he had put it under his leg.  I guess not.  But,
anyway, he puts the gun up to him and he puts a pillow on it and then, you
know, 'pop,' you know, 'bang,' you know.  Didn't really sound that loud
but&nbsp;.&nbsp;.&nbsp;.&nbsp;I knew that the gun had discharged.  I didn't think he was hit.  I mean,
just the way he just got up and just ran like that, you know, perfectly capable. 


The group then ran out of the house and departed in their vehicles, with the exception of
Pate, who "had disappeared."

	Ray denied that "Ace," Scott, or Padgett were present at the scene on the night in
question.  He further stated, like Tanton and Underwood before him, that he had not
entered into any agreement with the State in exchange for his initial statement to police.

G.	J.W.

	J.W. testified that she is thirteen years old and in the seventh grade.  She identified
Pate in the courtroom and stated that he "was my mom's boyfriend" and that he had once
lived in the trailer with the Watsons.  On the night J.W.'s father died, Pate was not living
at the trailer and J.W.'s mother and grandmother were not present because they were in
jail.  J.W. stated that, at some point that night, she wanted to leave the trailer to get
medicine from her grandmother's house next door.  She opened the front door to the trailer
and saw "five or six" men, one of whom had a bat and one of whom had a gun with "a little
wheel on it&nbsp;.&nbsp;.&nbsp;.&nbsp;like the western kind."  The gunman pushed her into her room with her
younger sister, M.W., and closed the door.  After a while, the girls emerged from the room,
saw that no one remained in the trailer, and M.W. called the police.  J.W. exited the trailer
and saw her father lying injured in the back of a neighbor's house.  After the police arrived,
J.W. and M.W. went to another neighbor's house and spent the night there.

	J.W. stated that, "a few months" before her father died, Pate "was out, like, around
the porch of my grandma's house and then he said, 'I'm going to bury your dad six feet
under.'  . . . And he said about my grandma, 'I have a bullet with her name ready on it.'"

	On cross-examination, J.W. denied that she knew the gunman's name to be
"Charles."  When asked if she knew "a guy named Ace," J.W. responded, "I've heard his
name, but I don't really know what he looks like."  On further questioning, J.W. stated that
"Ace" was the man that she saw with a baseball bat.  She then stated that "Ace" was the
gunman and "the one with the bat, I think it was Charles."  J.W. further stated that the man
she picked out on the photo array presented to her by Investigator Brooks was, in fact, not
at the house that evening.

H.	M.W.

	M.W. testified that she is eleven years old and in the sixth grade.  Like her sister,
M.W. identified Pate in the courtroom and stated that he had lived with the family "for about
a year" previously, but not on the day her father was shot.  At one point "a few weeks
before this happened to my dad," Pate "said he was going to bury my dad six feet under." 
Pate also "said that he was going to get Ace and all his buddies and come hurt my dad." 
According to M.W., Pate once "brought his buddies from the Aryan Circle [to the
trailer]&nbsp;.&nbsp;.&nbsp;.&nbsp;they were going to hurt some guy named J.R.&nbsp;.&nbsp;.&nbsp;.&nbsp;[bec]ause he was messing
with my mom."  On the night of January 4, 2008, "about five" of the men, one of whom had
a gun, "shoved their way in" to the trailer as J.W. was opening the front door.  One of the
men pushed the girls into a room and shut the door.  When M.W. heard the men leave,
she went to her grandmother's house to call the police.  After calling the police, she went
looking for her father; she found him lying down in the neighbors' yard "moaning."  When
asked whether she had heard any gunshots that evening, M.W. replied: "Yes. . . .  Once
me and my sister were in our room, we went outside and then that's when we heard the
gunshot."  She did not see who fired the shot.  She stated that the man she picked out
from Investigator Brooks's photo array was one of the men who entered her house that
evening.

	On cross-examination, M.W. acknowledged that one of the men who entered the
trailer was named "Ace" and another was named "Thunderwood."  She also agreed that,
with respect to one of the photo arrays that had been presented to her by Investigator
Brooks, she was unable to identify any of the individuals depicted as having been in her
house that night.

I.	Justin Padgett

	Padgett testified that he is currently incarcerated for possession of
methamphetamine and that he "[u]sed to" be associated with the Aryan Circle.  He stated
that he knew Pate and Aaron and that Aaron stayed with him at his house "a half a week
or a week prior to his death."  On the night of January 3, 2008, Pate arrived at Padgett's
trailer with another man seeking to purchase "some dope or some pills."  According to
Padgett:  

[Pate] questioned me where Aaron Watson was.  I told him Aaron wasn't
staying there. . . .  Also asked me if I knew where maybe any places he could
be at.  I told him no I didn't.  Asked him what the deal was.  He told me that
he was looking for him.  He was going to handle up on him, handle some
business with him. . . .  He asked me if I'd ride with him to go handle, you
know, to go talk to him, handle up some business, and I told him no, I was
busy.


Padgett denied that he was at the Watsons' trailer on the night in question, and he denied
having any involvement with Aaron's murder.

J.	Jennifer Leyva

	Jennifer Leyva testified that she is the mother of Padgett's four-year-old child and
was living with Padgett on January 3, 2008.  That evening, a man going by the name of
"Sid" showed up at Padgett's residence.  Leyva overheard "Sid" asking Padgett for
methamphetamine and asking him to come with him.  After "Sid" departed, Leyva and
Padgett "talked and we were intimate with each other and then we fell asleep . . . [at] about
1:00 or 2:00 in the morning."  Leyva stated that she spent the night at Padgett's residence
and that Padgett did not leave at any point during the night.  On cross-examination, Leyva
stated that Padgett did sell methamphetamine to Pate on that occasion.

K.	Suni Lee

	Suni Lee testified that, on January 3, 2008, she was employed at a liquor store in
Rockport, Texas.  She stated that she was acquainted with the Watsons and their children. 
At some time after 3:00 p.m. on that day, Pate entered the store and purchased a beer and
a pack of cigarettes.  While he was there,

[Pate] said that he had just gotten out of jail and it was because him and
Tracy--Aaron and Tracy and Chad apparently had an altercation of some
sort and that was why he went to jail.  And then he said that he had
something for that Aaron.  It was basically all he said to me.


L.	Tracy Watson

	Tracy stated that she and Aaron were married in 1998 and were still married at the
time of Aaron's death.  She knew Pate because he and Aaron were best friends.  In 2007,
Pate came to Fulton and Aaron allowed Pate to stay with the family in their trailer.  At some
point, Tracy and Aaron separated; within a couple of weeks thereafter, Pate and Tracy
"became intimately involved."  Aaron came back to the trailer "[e]very weekend" to visit his
daughters, and initially, he and Pate "still talked and they got along okay."  At some point,
however, the relationship between Aaron and Pate changed.  According to Tracy:

Probably about three or four months after me and Pate had been together,
things started getting . . . I don't know.  Pate would get mad whenever Aaron
would come over because I think that Pate felt threatened that Aaron was
trying to get back with me, which he was.  He wanted me back and I wasn't
ready to go back with him yet 'cause he didn't want to settle down and stay
home.  He just wanted to run the streets.


Tracy also stated that, "a few months before" her husband's death, Pate "[s]aid he was
going to kill [Aaron] . . . [and] that he was going to have his arms and legs broken."

	According to Tracy, Pate was arrested on December 26, 2007 "in reference to a
female's stolen purse."  Aaron then moved back into the trailer.  Tracy testified that, when
Pate was released from jail on January 3, 2008, "Aaron and I were on our way to the
sheriff's department to get a criminal trespassing warrant put against [Pate] so that
problems wouldn't start."  When they arrived at the sheriff's office, "[t]hey said they had a
warrant for me for theft and they put me in jail.  And then a couple of days later, the
charges were dropped.  They said that it was a misidentification."

	Tracy further stated that in November of 2007, a man by the name of J.R. knocked
on the door of the Watsons' trailer, looking for Pate.  Tracy responded that she didn't know
where Pate was, but "J.R. didn't want to leave.  He tried taking my clothes off and trying
to get me to have sex with him and stuff.  And I told him 'no.'  I told him to get out and
leave, and he finally left."  When Tracy told Pate about what J.R. did, Pate "was angry. .
. .  And then a few days later, about a couple of weeks later, three people came to my
property to see [Pate]. . . .  Pate said they were there to beat J.R. up."  The three men were
introduced to Tracy as "Underwood, Ziggy and Spooky."

	On cross-examination, Tracy acknowledged that she did not call the police when
J.R. tried to rape her "[b]ecause he didn't get violent. . . .  He was just trying to take my shirt
off and my pants ended up getting torn and he left when I told him to."  She denied having
told police that Aaron owed Padgett four hundred dollars for a drug purchase.  She also
stated that J.R.'s last name is Moore and that he is not the same person as Padgett.

III.  Discussion

A.	Corroboration of Non-Accomplice Testimony

	By his first issue on appeal, Pate contends that there was insufficient evidence
presented at trial to corroborate the testimony of his alleged accomplices.

	Article 38.14 of the code of criminal procedure provides that "[a] conviction cannot
be had upon the testimony of an accomplice unless corroborated by other evidence
tending to connect the defendant with the offense committed; and the corroboration is not
sufficient if it merely shows the commission of the offense."  Tex. Code Crim. Proc. Ann.
art. 38.14 (Vernon 2005). (12)  The evidence used for corroboration does not need to be in
itself sufficient to establish guilt beyond a reasonable doubt, nor must it directly link the
accused to the commission of the offense.  Patterson v. State, 204 S.W.3d 852, 859 (Tex.
App.-Corpus Christi 2006, pet. ref'd) (citing Dowthitt v. State, 931 S.W.2d 244, 249 (Tex.
Crim. App. 1996); Gill v. State, 873 S.W.2d 45, 48 (Tex. Crim. App. 1994); Munoz v. State,
853 S.W.2d 558, 559 (Tex. Crim. App. 1993); Cox v. State, 830 S.W.2d 609, 611 (Tex.
Crim. App. 1992)).  The accused's mere presence in the company of the accomplice
before, during, and after the commission of the offense is insufficient by itself to
corroborate accomplice testimony; however, evidence of such presence coupled with other
suspicious circumstances may tend to connect the accused to the offense.  McAfee v.
State, 204 S.W.3d 868, 871 (Tex. App.-Corpus Christi 2006, pet. ref'd) (citing Dowthitt,
931 S.W.2d at 249; Gill, 873 S.W.2d at 49; Cox, 830 S.W.2d at 611).  Even apparently
insignificant incriminating circumstances may sometimes afford satisfactory evidence of
corroboration.  Id. (citing Dowthitt, 931 S.W.2d at 249; Munoz, 853 S.W.2d at 559).  The
absence of "smoking gun" evidence does not invalidate evidence that does connect the
defendant to the offense.  Id. (citing Trevino v. State, 991 S.W.2d 849, 852 (Tex. Crim.
App. 1999)).

	Pate argues that much of the State's corroborative evidence relates to Pate's
alleged motive to have Aaron killed.  Specifically, Tracy testified that she became involved
in an "intimate" relationship with Pate when Aaron moved out of the trailer.  When she
advised Pate that J.R. had attempted to sexually assault her, Pate "became angry" and
three of Pate's associates came to the Watsons' trailer "to beat J.R. up." (13)  Eventually, Pate
became "mad whenever Aaron would come over" because, according to Tracy, Pate "felt
threatened that Aaron was trying to get back with [her], which he was."  Tracy then
resumed her relationship with Aaron when Pate was incarcerated.  According to the State,
this testimony established that Pate had a motive to kill Aaron.  However, as Pate correctly
notes, evidence of motive alone will not be sufficient to corroborate the testimony of
accomplice witnesses.  Leal v. State, 782 S.W.2d 844, 852 (Tex. Crim. App. 1989) (citing
Reynolds v. State, 489 S.W.2d 866, 872 (Tex. Crim. App. 1972)).

	Nevertheless, motive is a factor that may be considered with other evidence tending
to connect the accused with the crime.  Id. (citing Paulus v. State, 633 S.W.2d 827, 832
(Tex. Crim. App. 1982)).  Here, several non-accomplice witnesses testified that Pate made
verbal threats against Aaron.  Specifically, both J.W. and M.W. testified that Pate said he
was "going to bury [Aaron] six feet under"; Padgett testified that Pate was looking for Aaron
on the night of the murder and that Pate said he was "going to handle up on [Aaron],
handle some business with him . . ."; Lee testified that, the day before the murder, Pate
told her that he was in jail "because [of] . . . Aaron and Tracy" and said that "he had
something for that Aaron"; and Tracy testified that Pate said "he was going to kill [Aaron]
. . . [and] that he was going to have his arms and legs broken."  Tracy also testified that,
when Pate was released from jail, she and Aaron sought "a criminal trespassing warrant"
against Pate "so that problems wouldn't start."  The State argues that this evidence was
sufficient to connect Pate to Aaron's murder.

	In response, Pate points to Smith v. State, 286 S.W.3d 412, 423-38 (Tex.
App.-Corpus Christi 2008, pet. granted), in which this Court found insufficient evidence to
corroborate an accomplice's testimony that the defendant killed her husband and father-in-law.  In that case, we noted that non-accomplice testimony establishing that the defendant
had a motive and opportunity to commit the charged offense was, by itself, insufficient
corroboration.  See id. at 427.  We then examined whether other evidence connected the
defendant to the crime; specifically, we considered evidence that allegedly established that
the defendant, inter alia:  (1) "did not act as a normal person would act on the day of the
murders"; (2) "acted unusually upon discovering the bodies"; (3) "was aware that guns were
missing from [her] house and that [the victims] had been shot before that information was
officially released to her"; (4) "did not act like a grieving widow after the murders"; and (5)
"told her daughter . . . to be careful of what she said to the police."  Id. at 429.  We found
that none of these pieces of evidence connected the defendant to the crime; therefore, "the
cumulative force of the evidence" was not enough to corroborate the accomplice testimony. 
Id. at 438.  Pate urges that "there is far less corroboration of the accomplices' testimony
in the instant case than in Smith."  We disagree.  In Smith, there was no evidence of the
defendant threatening the life of the victims, as there is here.  Pate does not direct us to
any case law, and we find none, stating that verbal threats to the victim made by the
defendant may not be used to connect the defendant to the crime for purposes of
corroboration.  Instead, it is well established that "sufficient accomplice-witness
corroboration may be furnished by the suspicious conduct of a defendant."  Brown v. State,
270 S.W.3d 564, 568 (Tex. Crim. App. 2008); see Burks v. State, 876 S.W.2d 877, 888
(Tex. Crim. App. 1994) (holding that appellant's threats to his aunt, when she said that she
would call the police if she found out that appellant was involved in the offense, was
evidence that tended to connect the appellant to the offense).

	Here, non-accomplice testimony established that Pate made numerous verbal
threats toward Aaron; that Pate was looking for Aaron soon after being released from jail
on January 3, 2008; and that Aaron's murder occurred shortly thereafter.  This evidence
of "suspicious conduct," in combination with evidence establishing Pate's motive, was more
than sufficient to "tend[] to connect" Pate with Aaron's murder.  See Tex. Code Crim. Proc.
Ann. art. 38.14.  Pate's first issue is overruled.

B.	Evidentiary Sufficiency

	By his second issue, Pate argues that the evidence was legally and factually
insufficient to support his conviction as a party to Aaron's murder.

	We review the legal and factual sufficiency of the evidence supporting a conviction
under well-established standards.  In conducting a legal sufficiency review, we consider the
evidence in the light most favorable to the verdict to determine whether any rational trier
of fact could have found the essential elements of the crime beyond a reasonable doubt. 
Sanders v. State, 119 S.W.3d 818, 820 (Tex. Crim. App. 2003).  We must give deference
to "the responsibility of the trier of fact to fairly resolve conflicts in testimony, to weigh the
evidence, and to draw reasonable inferences from basic facts to ultimate facts."  Hooper
v. State, 214 S.W.3d 9, 13 (Tex. Crim. App. 2007) (citing Jackson v. Virginia, 443 U.S. 307,
318-19 (1979)).  We are not required to determine whether we believe that the evidence
at trial established guilt beyond a reasonable doubt; rather, when faced with conflicting
evidence, we must presume that the trier of fact resolved any such conflict in favor of the
prosecution, and we must defer to that resolution.  State v. Turro, 867 S.W.2d 43, 47 (Tex.
Crim. App. 1993).  In conducting a factual sufficiency review, we consider the evidence in
a neutral light.  Watson v. State, 204 S.W.3d 404, 414-15 (Tex. Crim. App. 2006).  The
verdict will be set aside only if it is (1) so contrary to the overwhelming weight of the
evidence as to be clearly wrong and manifestly unjust, or (2) against the great weight and
preponderance of the evidence.  Id. at 415 (citing Johnson v. State, 23 S.W.3d 1, 10 (Tex.
Crim. App. 2000)).

	Both legal and factual sufficiency are measured by the elements of the offense as
defined by a hypothetically correct jury charge.  Malik v. State, 953 S.W.2d 234, 240 (Tex.
Crim. App. 1997); Adi v. State, 94 S.W.3d 124, 131 (Tex. App.-Corpus Christi 2002, pet.
ref'd).  Under such a charge, Pate committed the offense of murder if he (1) intentionally
or knowingly (2) caused the death of Aaron Watson.  See Tex. Penal Code Ann. § 19.02. 
Under the law of parties, a person is criminally responsible for an offense committed by the
conduct of another if, "acting with intent to promote or assist the commission of the
offense, he solicits, encourages, directs, aids, or attempts to aid the other person to
commit the offense."  Id. § 7.02(a)(2) (Vernon 2003).  When we review the sufficiency of
the evidence supporting a defendant's participation as a party to the crime, "we may
consider 'events occurring before, during and after the commission of the offense, and may
rely on actions of the defendant which show an understanding and common design to do
the prohibited act.'"  King v. State, 29 S.W.3d 556, 564 (Tex. Crim. App. 2000) (quoting
Ranson v. State, 920 S.W.2d 288, 302 (Tex. Crim. App. 1994)).  Additionally,
"[c]ircumstantial evidence is as probative as direct evidence in establishing the guilt of an
actor, and circumstantial evidence alone can be sufficient to establish guilt."  Clayton v.
State, 235 S.W.3d 772, 778 (Tex. Crim. App. 2007).

	In his evidentiary sufficiency argument, Pate claims that the State presented "no
evidence outside the testimony of accomplices" that Pate was "at the trailer planning the
offense" or that he was "ever at the murder scene."  However, a challenge of insufficient
evidence to support the verdict is not the same as a challenge of insufficient corroboration,
but is instead governed by a different test.  Yost v. State, 222 S.W.3d 865, 871-72 (Tex.
App.-Houston [14th Dist.] 2007, pet. ref'd) (citing Cathey v. State, 992 S.W.2d 460, 462-63
(Tex. Crim. App. 1999) (en banc); Torres v. State, 137 S.W.3d 191, 196 (Tex.
App.-Houston [1st Dist.] 2004, no pet.)).  In a legal and factual sufficiency review, we
consider all the evidence, even uncorroborated accomplice testimony.  See id. at 875. 
Accordingly, the fact that some of the accomplice witnesses' testimony was not
corroborated is immaterial to our analysis of Pate's second issue. (14)

	Pate further asserts generally that "the State presented no evidence that he did
anything to aid, assist, encourage, solicit, direct or attempt to aid the shooter" or that Pate
possessed the requisite mental state.  We disagree.  Tanton and Underwood testified that
Pate and Hall accompanied them to the trailer on January 4, 2008 and that Pate instructed
the group on how to approach the trailer without being seen.  Underwood testified that Pate
"[s]aid he wanted the dude there ran off."  Ray testified that Pate told the group that they
were looking for a man named Aaron.  Additionally, as noted, the record is replete with
evidence that Pate had a motive to kill Aaron; that he had made threats against Aaron on
several prior occasions; and that he had recently sought to "beat up" an individual who had
allegedly attempted to assault Tracy.  From this evidence, a rational jury could have found
that Pate solicited, encouraged, directed, aided, or attempted to aid Hall in causing Aaron's
death.  See Tex. Penal Code Ann. § 7.02(a)(2).  We find in particular that the evidence
allowed a rational jury to find that Pate "act[ed] with intent to promote or assist the
commission of the offense."  See id.  Accordingly, we conclude that the evidence was
legally sufficient to support the verdict.  Moreover, considering all of the evidence in a
neutral light, we cannot say that the verdict was clearly wrong, manifestly unjust, or against
the great weight and preponderance of the evidence.  See Watson, 204 S.W.3d at 415. 
Therefore, the evidence was factually sufficient to support Pate's conviction.

	Pate's second issue is overruled.

C.	Jury Charge Error

	By his third issue, Pate argues that the trial court's jury charge contained four
different reversible errors.  Specifically, Pate contends that the charge was erroneous
because:  (1) it did not instruct the jury that accomplices cannot corroborate each other;
(2) it did not define "accomplice as a matter of law"; (3) it did not ask whether Padgett was
an accomplice as a matter of fact; and (4) it materially varied from the indictment.  Hall, by
his third issue, joins Pate in complaining that the charge was erroneous because it lacked
an instruction that accomplices cannot corroborate each other.

	Neither trial counsel objected to the jury charge at trial.  When reviewing
unobjected-to jury charge error, we must first determine whether the charge was
erroneous.  See Tolbert v. State, 306 S.W.3d 776, 779 (Tex. Crim. App. 2010).  If we
determine that error occurred, we then consider whether the error caused egregious harm. 
Almanza v. State, 686 S.W.2d 157, 171 (Tex. Crim. App. 1985) (op. on reh'g).  Egregious
harm will be found only if the error deprived the defendant of a fair and impartial trial.  Ex
parte Smith, 309 S.W.3d 53, 63 (Tex. Crim. App. 2010) (citing Almanza, 686 S.W.2d at
171).

	1.	Failure to Instruct That Accomplices Cannot Corroborate Each Other

	The trial court issued two charges to the jury--one with respect to Pate and one with
respect to Hall.  Both charges stated, in relevant part, as follows:

You are instructed that an accomplice as the term is herein after [sic] used
means any person connected with the crime charged, as a party thereto, and
includes all person[s] who are connected with the crime, as such parties, by
unlawful act or omission on their part transpiring either before or during the
time of the commission of the offense. . . .


The witnesses Michael Jason Underwood, Anthony Lee Ray, and Kevin Ray
Tanton are accomplices.  If an offense was committed, you cannot convict
the defendant upon accomplice testimony unless you first believe that the
testimony is true and shows the defendant is guilty as charged and then you
cannot convict the defendant upon said testimony unless you further believe
that there is other testimony in the case, outside the evidence of the said
witnesses Michael Jason Underwood, Anthony Lee Ray, and Kevin Ray
Tanton tending to connect the defendant with the offense committed, if you
find that an offense was committed, and the corroboration is not sufficient [if]
it merely shows the commission of the offense but it must also tend to
connect the defendant with its commission, and then from all the evidence
you must believe beyond a reasonable doubt that the defendant is guilty of
the offense charged against him.


Pate and Hall argue that this language was insufficient to precisely instruct the jury that the
testimony of one or more accomplices cannot be used to corroborate the testimony of
another accomplice.

	Pate and Hall are correct that, where more than one potential accomplice testifies,
the trial court must inform the jury that accomplices may not corroborate each other's
testimony.  See, e.g., Fields v. State, 426 S.W.2d 863, 865 (Tex. Crim. App. 1968). 
However, as the State points out, the language used in the Pate and Hall jury charges has
been found to be sufficient for that purpose.  See Barrera v. State, 756 S.W.2d 884, 886
(Tex. App.-San Antonio 1988, pet. ref'd).  In Barrera, the San Antonio Court of Appeals
considered a jury charge containing language that is identical, other than the names of the
accomplices, to that which was included in the jury charges in the present case and which
is set forth above.  See id.  The court concluded:

As is evident from a reading of the . . . portion of the charge quoted above,
the trial court did in fact charge the jury . . . that one accomplice could not
corroborate another.  That portion [of the charge] wherein the court
instructed the jury that they could not convict appellant unless they believed
there was testimony outside of the evidence given by the three accomplices
that tended to connect the appellant with the offense is sufficient to inform
the jury that one accomplice cannot corroborate another.


Id.  We agree with the Barrera court and find that the jury charges in the instant case
sufficiently instructed the jury that accomplices cannot corroborate each other.  Hall's third
issue is overruled.  We now proceed to consider the other complaints raised by Pate as
to the jury charge.

	2.	Failure to Define "Accomplice as a Matter of Law"

	Pate argues that the jury charge "fails to sufficiently define what an 'accomplice as
a matter of law' is as required and discussed in detail in Smith," 286 S.W.3d at 412-38. 
Pate notes specifically that "[t]he charge discusses the law of [p]arties in Item No. 3 of
Count I but fails to instruct the jury as to the law of accomplice testimony until Cou[n]t II,
Item 13 of the [c]harge."  He concludes that, "[t]herefore, there are no instructions in Count
I of the Charge dealing with accomplices whatsoever."

	Pate does not cite any authority other than Smith to support his positions that (1) a
jury charge must include a definition of "accomplice as a matter of law," and (2) a definition
included in one part of a jury charge may not be considered in our evaluation of whether
an error is shown in a separate part of the charge.  In Smith, as noted, we found that there
was insufficient evidence to corroborate the testimony of Boone, the defendant's
accomplice.  Id. at 438.  We also discussed the jury charge in that case; specifically, we
addressed Smith's issue claiming that the charge was erroneous because it asked the jury
whether or not Boone was an accomplice as a matter of fact.  Id. at 420.  We concluded
that, because the record clearly demonstrated that Boone was charged with murdering the
same individual that Smith was charged with murdering, Boone was an accomplice as a
matter of law.  Id. at 423.  Therefore, it was error to ask the jury whether he was an
accomplice as a matter of fact.  Id.  At no point in Smith did we hold that a jury charge must
define "accomplice as a matter of law," nor did we state that any such definition must be
set forth in any particular part of the charge.  Without more, we cannot conclude that the
trial court's failure, if any, to define "accomplice as a matter of law" in the jury charge was
erroneous.

	3.	Failure to Ask Whether Padgett is an Accomplice as a Matter of Fact

	Pate next contends that he was egregiously harmed by the lack of a question in the
jury charge asking whether Padgett was an accomplice as a matter of fact.  "[A] person is
an accomplice if there is sufficient evidence connecting them to the criminal offense as a
blameworthy participant."  Blake v. State, 971 S.W.2d 451, 454-55 (Tex. Crim. App. 1998). 
When there is a question from the evidence whether a witness is an accomplice, it is
proper to submit that fact issue to the jury.  Gamez v. State, 737 S.W.2d 315, 322 (Tex.
Crim. App. 1987).  However, "[i]f the evidence is clear that the witness is not an accomplice
witness, no charge need be given to the jury either that the witness is an accomplice
witness as a matter of law or in the form of a fact issue whether the witness is an
accomplice witness."  Id.

	Padgett testified that he "[u]sed to" be associated with the Aryan Circle; that he
knew Pate and Aaron; that Aaron had stayed at his home prior to his murder; and that Pate
had inquired about Aaron's whereabouts on the night of the murder.  Further, Investigator
Brooks testified that Tracy told him that Aaron owed Padgett four hundred dollars, and that
J.W. picked Padgett out of a photo array but that she had only identified him as someone
she had seen before.  Pate contends that this evidence raised a fact question as to
whether Padgett was an accomplice as a matter of fact.  We disagree.  There was no
evidence adduced indicating that Padgett was with either Pate or Hall at the trailer on the
night of January 4, 2008; nor was there any evidence adduced indicating that Padgett
committed any act in furtherance of the offense or evinced an "understanding and common
design to do the prohibited act.'"  King, 29 S.W.3d at 564 (quoting Ranson, 920 S.W.2d
at 302).  In fact, uncontroverted evidence established that Padgett declined to go with Pate
to "handle some business" with Aaron on the night in question, and that he spent that
entire night at his home with Leyva.  We conclude that the trial court did not err by not
including a question in the jury charge asking if Padgett was an accomplice as a matter of
fact.

	4.	Variance Between Indictment and Charge

	In the final part of his third issue, Pate argues that "[t]he variance between the
indictment and the charge to the jury is confusing to the jury and lessens the burden of
proof for the State to prove its case."  Pate continues his argument as follows:

The offense in the instant case, as alleged in the indictment and set out in
the jury charge, was that [Pate] was charged with the offense of murder. 
However, the evidence does not show that Pate was criminally responsible
for [t]he acts of others.  Instead, it shows that Pate never requested,
commanded or attempted the others [sic] to commit the offense as charged
in the indictment.


It is unclear what, exactly, Pate is arguing here.  To the extent that he is arguing that the
evidence was insufficient to support his conviction as a party to Aaron's murder, we have
already reached a contrary conclusion.  To the extent that Pate is arguing that he may not
be convicted as a party to a crime where the indictment alleged only that he was a principal
actor in that crime, he is wrong.  See Tex. Penal Code Ann. § 7.01(c) (Vernon 2003) ("All
traditional distinctions between accomplices and principals are abolished by this section,
and each party to an offense may be charged and convicted without alleging that he acted
as a principal or accomplice."); Goff v. State, 931 S.W.2d 537, 544 n.5 (Tex. Crim. App.
1996) ("A trial court may charge on [the] law of parties where there is no such allegation
in the indictment.").

	Having found no error in the jury charge, we overrule Pate's third issue.

D.	Improper Jury Argument

	The following exchange took place during the State's closing argument at the guilt-innocence phase of trial:

[Prosecutor]:		When you look at this case, ladies and gentlemen, I
want you to think about this is your community [sic].  I
want you to think about Mr. Watson's last words to his
girls:  "I love you."


			You know, [defense counsel] laughs, said, "I'd rather be
home eating dinner."  You know what?  I bet Mr.
Watson would, too.  I best [sic] his family would want
him home, too.  I bet those two little girls sitting there
would like to see their daddy again.  But these two wild
dogs took that away from them.


[Pate's counsel]:	I object to that, Judge.  That's completely improper.  I
object to that and ask the Court to instruct the jury to
disregard that statement.


THE COURT:	Ladies and gentlemen, that was an opinion and
opinions do not go to jury argument.  Please disregard.


Pate and Hall, by their fourth issues, argue that the prosecutor's reference to them as "two
wild dogs" was improper and substantially affected their rights.  They further assert that the
prosecutor's comment "inflamed the jury" and "prejudiced" them and, therefore, the trial
court's instruction to disregard the comment did not cure the error.  In response, the State
contends that the prosecutor's comment could feasibly be considered a "summation of the
evidence" (15) and that, even if the statement was erroneous, the error was not "so extreme
or manifestly improper as to require reversal." (16)  See Brown, 270 S.W.3d at 570 (holding
that jury argument "error is not reversible unless, in light of the record, the argument is
extreme or manifestly improper") (citing Allridge v. State, 762 S.W.2d 146, 155 (Tex. Crim.
App. 1988)).

	We do not reach the merits of this issue, however, because Pate and Hall have
failed to preserve it for our review.  The court of criminal appeals has concluded that an
objection pursued to an adverse ruling is required to preserve jury argument error for
appellate review.  Archie v. State, 221 S.W.3d 695, 699 (Tex. Crim. App. 2007); see Tex.
R. App. P. 33.1; see also Contreras v. State, No. 13-09-00109-CR, 2010 Tex. App. LEXIS
4385, at *16-17 (Tex. App.-Corpus Christi June 10, 2010, no pet. h.) (mem. op., not
designated for publication).  As Pate recognizes in his appellate brief, the trial court never
explicitly ruled on his counsel's objection to the prosecutor's statement.  If anything, the
trial court tacitly sustained the objection by instructing the jury to disregard the statement,
which was precisely the remedy that Pate's counsel requested.  In any event, we cannot
conclude that either Pate or Hall "pursue[d their objection] to an adverse ruling."  Archie,
221 S.W.3d at 699 (emphasis added).  Accordingly, the issue has not been preserved for
our review.  Pate's and Hall's fourth issues are overruled.

E.	Admission of Evidence

	1.	Scent Lineups

	By his first issue, Hall contends that the trial court erred in admitting evidence of
Deputy Pikett's canine scent lineup tests.  We review a trial court's admission of evidence
for abuse of discretion.  Weatherred v. State, 15 S.W.3d 540, 542 (Tex. Crim. App. 2000).
The trial court's ruling must be upheld if it was within the zone of reasonable disagreement. 
Id. (citing Montgomery v. State, 810 S.W.2d 372, 381 (Tex. Crim. App. 1990)).  In addition,
we must review the trial court's ruling in light of what was before the trial court at the time
the ruling was made.  Id. (citing Hoyos v. State, 982 S.W.2d 419, 422 (Tex. Crim. App.
1998); Hardesty v. State, 667 S.W.2d 130, 133 n.6 (Tex. Crim. App. 1984)).

	Texas Rule of Evidence 702 provides that "[i]f scientific, technical, or other
specialized knowledge will assist the trier of fact to understand the evidence or to
determine a fact in issue, a witness qualified as an expert by knowledge, skill, experience,
training, or education, may testify thereto in the form of an opinion or otherwise."  Tex. R.
Evid. 702.  The trial court's task in assessing admissibility under Rule 702 "is to determine
whether the testimony is sufficiently reliable and relevant to help the jury in reaching
accurate results."  Kelly v. State, 824 S.W.2d 568, 572 (Tex. Crim. App. 1992).

	In Kelly, the Texas Court of Criminal Appeals set forth a three-prong reliability test
and identified seven non-exclusive factors for courts to consider in assessing the reliability
of scientific evidence.  See id. (17)  However, in Nenno v. State, the court of criminal appeals
held that a "less rigor[ous]" requirement of reliability applies "[w]hen addressing fields of
study aside from the hard sciences, such as the social sciences or fields that are based
primarily upon experience and training as opposed to the scientific method."  970 S.W.2d
549, 561 (Tex. Crim. App. 1998), overruled on other grounds by State v. Terrazas, 4
S.W.3d 720 (Tex. Crim. App. 1999).  The appropriate questions in such cases are:  (1)
whether the field of expertise is a legitimate one, (2) whether the subject matter of the
expert's testimony is within the scope of that field, and (3) whether the expert's testimony
properly relies upon and/or utilizes the principles involved in the field.  Nenno, 970 S.W.2d
at 561.  "Since interpretation of a dog's reaction to a scent lineup is based upon training
and experience, and not scientific method, we apply the less rigorous Nenno test in this
case."  Winston v. State, 78 S.W.3d 522, 526 (Tex. App.-Houston [14th Dist.] 2002, pet.
ref'd) (citing Brooks v. People, 975 P.2d 1105, 1106 (Colo. 1999) (holding that canine
scent-tracking evidence does not constitute evidence subject to Daubert scientific
validation factors but that conventional Rule 702 and Rule 403 analysis should be
applied)).

	Hall argues that the evidence of Deputy Pikett's scent lineup tests fails the Nenno
test "because there was no predicate evidence to show that Pikett's type of testing is
accepted as a valid field of expertise by any canine or forensic experts other than Pikett." 
Hall asserts that "[Pikett's] 'scientific' testing and opinion is an unverifiable one-man show
put on by a policeman to aid prosecutors." (18)

	In Winston v. State, the Fourteenth Court of Appeals also considered whether
evidence of Deputy Pikett's canine scent lineups was admissible under Rule 702.  See id. 
In evaluating the first prong of the Nenno test, the court noted that "[t]he ability of certain
breeds of dogs, especially bloodhounds, to distinguish humans by scent is well-documented."  Id. (citing State v. Roscoe, 700 P.2d 1312, 1319-20 &amp; n.2 (Ariz. 1984);
Roberts v. State, 469 A.2d 442, 447 &amp; n.5 (Md. 1983)).  "[T]hese dogs' superior senses
have long been used to aid mankind in a variety of contexts outside the courtroom,
including 'to track by scent escaped criminals or lost persons and articles.'"  Id. (quoting
People v. Price, 531 N.E.2d 367, 269 (N.Y. 1981)).  The court further noted that "[t]hirty-seven states and the District of Columbia admit scent-tracking evidence to prove the
identity of the accused, provided a proper foundation is laid."  Id. at 527.  The court
concluded that the use of scent lineups is a "legitimate field of expertise."  Id.; see Winfrey
v. State, No. PD-0987-09, 2010 Tex. Crim. App. LEXIS 1167, at*14-25 (Tex. Crim. App.
Sept. 22, 2010). (19)  Hall has given us no reason to reach a different result here.  We
therefore conclude, as the Winston court did, that the trial court did not abuse its discretion
in admitting evidence related to Deputy Pikett's scent lineup tests.  See Winston, 78
S.W.3d at 527.  Hall's first issue is overruled.

	2.	Photographs of Hall's Tattoos

	By his second issue, Hall argues that the trial court erred in admitting, over his
counsel's objection, nineteen photographs of Hall.  The photographs, taken while Hall was
in police custody, exhibited extensive tattooing on Hall's torso, arms, and legs.  Hall
describes the tattoos as depicting "scantily clad women in bondage, knives, a menacing
skull with warlike helmets, demons and devils with pitchforks, an armed man jumping off
his stomach yelling a war cry, a tank with a cannon, an arm-length grim reaper, and a
decomposing face with a menacing look."  Hall argues on appeal that "[t]he images were
diabolical, violent and frightening" and prejudiced the jury.

	Evidence is considered relevant if it has "any tendency to make the existence of any
fact that is of consequence to the determination of the action more probable or less
probable than it would be without the evidence."  Tex. R. Evid. 401.  However, relevant
evidence may be excluded "if its probative value is substantially outweighed by the danger
of unfair prejudice, confusion of the issues, or misleading the jury, or by considerations of
undue delay, or needless presentation of cumulative evidence."  Tex. R. Evid. 403.  "Rule
403 favors the admission of relevant evidence and carries a presumption that relevant
evidence will be more probative than prejudicial."  Gallo v. State, 239 S.W.3d 757, 762
(Tex. Crim. App. 2007) (citing Williams v. State, 958 S.W.2d 186, 196 (Tex. Crim. App.
1997)).

	The State argues that the photographs were offered into evidence in order to prove 
that Hall participated in Aaron's shooting as a member of a criminal street gang, which is
an element of the charged offense of organized criminal activity.  See Tex. Penal Code
Ann. § 71.02(a)(1). (20)  The State notes that Isaac Leal, a criminal investigator for the 36th
Judicial District, testified that Hall's distinctive tattoos as depicted in the photographs
identified him as a member of the Aryan Circle.

	Under the circumstances of this case, we cannot say that Hall overcame the
presumption that relevant evidence is more probative than prejudicial.  See Gallo, 239
S.W.3d at 762.  We conclude that the trial court did not act beyond the zone of reasonable
disagreement in admitting the photographs.  See Weatherred, 15 S.W.3d at 542 (citing
Montgomery, 810 S.W.2d at 381).  Accordingly, the trial court did not abuse its discretion. 
Hall's second issue is overruled.

IV.  Conclusion

	Having overruled all issues raised by Pate and Hall, we affirm the judgments of the
trial court.


							________________________

							DORI CONTRERAS GARZA

							Justice


Do not publish.

Tex. R. App. P. 47.2(b)

Delivered and filed the

7th day of October, 2010.
1.  Under section 71.02 of the penal code, a person engages in organized criminal activity if, "with the
intent to establish, maintain, or participate in a combination or in the profits of a combination or as a member
of a criminal street gang, the person commits or conspires to commit one" of several defined offenses.  Tex.
Penal Code Ann. § 71.02 (Vernon Supp. 2009).  Here, Pate and Hall were charged specifically with
committing the predicate offense of aggravated assault.  See id. § 22.02 (Vernon Supp. 2009).
2.  After finding Pate and Hall guilty of murder, the jury, as instructed, did not enter a finding as to
whether Pate and Hall were guilty of engaging in organized criminal activity by committing aggravated assault
as members of a criminal street gang.  See id. § 71.02; Forest v. State, 989 S.W.2d 365, 367 (Tex. Crim. App.
1999) (noting that "aggravated assault can be a lesser-included offense of murder").
3.  We note that the State's appellee's brief in appellate cause number 13-09-00112-CR violates the
rules governing such briefs in that the argument presented therein exceeds fifty pages in length.  See Tex.
R. App. P. 38.4.  Moreover, the State did not file a motion for leave to file a brief exceeding that page limit. 
Nevertheless, in our sole discretion, we choose to accept the State's brief and consider the initial fifty pages
of argument.
4.  The evidence established that Tracy was Aaron's wife and that J.W. and M.W. are the couple's
teenage daughters.  To protect the children's identities, we refer to them by their initials.  See Tex. R. App. P.
9.8.
5.  According to Investigator Brooks, when he asked Tracy whether Aaron "might have had problems
with or owed money to" anyone, Tracy noted that Aaron owed four hundred dollars to an individual nicknamed
"Doughboy."
6.  Investigator Brooks further testified that "Ziggy" referred to Christopher Hall.
7.  According to Investigator Brooks, the statements of Underwood, Ray, and Tanton led police to
eliminate "Doughboy"--identified as Justin Padgett--as a suspect in Aaron's murder.
8.  Richard Hitchcox, a forensic firearms and toolmarks examiner with the Texas Department of Public
Safety, testified that he could not perform ballistics testing on the gun because it was in "very poor condition"
at the time he received it.
9.  Investigator Brooks also stated that J.W. picked Justin Padgett out of a different photo array, but
that she had only identified him as someone she had seen before.
10.  Deputy Pikett acknowledged on cross-examination that the tests had been administered
approximately five months after the evidence was recovered from the crime scene.
11.  Underwood stated that Pate had led him to believe that the trailer belonged to Pate, that Tracy was
Pate's wife, and that J.W. and M.W. were Pate's children.
12.  An accomplice is a person who participates with a defendant before, during, or after the commission
of a crime and acts with the required culpable mental state.  Patterson v. State, 204 S.W.3d 852, 858 (Tex.
App.-Corpus Christi 2006, pet. ref'd) (citing Kutzner v. State, 994 S.W.2d 180, 187 (Tex. Crim. App. 1999)). 
As co-indictees, Underwood, Ray, and Tanton are accomplices of Pate as a matter of law.  See id. (citing
Hendricks v. State, 508 S.W.2d 633, 634 (Tex. Crim. App. 1974)).
13.  M.W. also testified that Pate "brought his buddies from the Aryan Circle . . . to hurt some guy named
J.R. . . . [bec]ause he was messing with my mom."
14.  Pate also argues that the case against him is circumstantial in nature and cites Brandley v. State
for the proposition that "in a circumstantial evidence case, the State . . . must . . . exclude every reasonable
hypothesis raised by the evidence that would tend to exculpate the accused."  691 S.W.2d 699, 703 (Tex.
Crim. App. 1985).  However, this tenet of law has been explicitly overruled by the Texas Court of Criminal
Appeals.  See Geesa v. State, 820 S.W.2d 154, 157-61 (Tex. Crim. App. 1991) (rejecting the "reasonable
hypothesis analytical construct" under which courts were required to instruct juries not to convict on
circumstantial evidence unless "every reasonable hypothesis other than guilt" is excluded), overruled on other
grounds by Paulson v. State, 28 S.W.3d 570, 571 (Tex. Crim. App. 2000).
15.  "[P]roper jury argument generally falls within one of four general areas:  (1) summation of the
evidence; (2) reasonable deduction from the evidence; (3) answer to argument of opposing counsel; and (4)
plea for law enforcement."  Brown v. State, 270 S.W.3d 564, 570 (Tex. Crim. App. 2008).
16.  The State notes that a prosecutor's reference to a human defendant as an animal is not always
improper.  See Burns v. State, 556 S.W.2d 270, 285 (Tex. Crim. App. 1977) (finding that prosecutor's
reference to defendant as an "animal" was not improper because "the record . . . reflects a 'bestial aspect.'").
17.  The Kelly court held that, to be considered reliable, evidence derived from a scientific theory "must
satisfy three criteria in any particular case:  (a) the underlying scientific theory must be valid; (b) the technique
applying the theory must be valid; and (c) the technique must have been properly applied on the occasion in
question."  Kelly v. State, 824 S.W.2d 568, 573 (Tex. Crim. App. 1992).


Factors that could affect a trial court's determination of reliability include, but are not limited
to, the following:  (1) the extent to which the underlying scientific theory and technique are
accepted as valid by the relevant scientific community, if such a community can be
ascertained; (2) the qualifications of the experts testifying; (3) the existence of literature
supporting or rejecting the underlying scientific theory and technique; (4) the potential rate
of error of the technique; (5) the availability of other experts to test and evaluate the
technique; (6) the clarity with which the underlying scientific theory and technique can be
explained to the court; and (7) the experience and skill of the person(s) who applied the
technique on the occasion in question.


Id. (emphasis in original).
18.  Hall's argument with respect to his first issue appears to be limited to the first prong of the Nenno
test; i.e., whether or not Deputy Pikett's field of expertise is legitimate.  See Nenno v. State, 970 S.W.2d 549,
561 (Tex. Crim. App. 1998), overruled on other grounds by State v. Terrazas, 4 S.W.3d 720 (Tex. Crim. App.
1999).  Hall does not contend on appeal that the subject matter of Deputy Pikett's testimony is outside the
scope of his field of expertise, nor does he argue that Deputy Pikett's testimony failed to rely upon or utilize
the principles involved in the field.  That is, he does not contend that the evidence at issue failed either the
second or third prong of the Nenno test.  See Nenno, 970 S.W.2d at 561.  Accordingly, we do not address
those prongs in our analysis.
19.  In Winfrey v. State, the Texas Court of Criminal Appeals ruled, in another case involving evidence
of dog scent lineups presented by Deputy Pikett, that such evidence, standing alone, cannot be legally
sufficient to support a murder conviction.  No. PD-0987-09, 2010 Tex. Crim. App. LEXIS 1167, at *14-25 (Tex.
Crim. App. Sept. 22, 2010).  The court noted that "[i]dentifying someone's scent at a crime scene is not an
indication of complicity.  It simply establishe[s] a direct or indirect relationship to the scene."  Id. at *16 (quoting
Rex A. Stockham et al., Specialized Use of Human Scent in Criminal Investigations, 6 Forensic Sci. Comm.
3, 6 (2004)).  The court concluded that, even when viewed in the light most favorable to a conviction, dog
scent lineup evidence "merely raises a suspicion of guilt" and is legally insufficient, by itself, to support a
conviction beyond a reasonable doubt.  Id. at *19.  According to the court, "[t]he dangers inherent in the use
of dog tracking evidence can only be alleviated by the presence of corroborating evidence."  Id. at *23 (quoting
State v. Loucks, 656 P.2d 480, 483 (Wash. 1983)).  Therefore, "when inculpatory evidence is obtained from
a dog scent lineup, its role in the court room is merely supportive."  Id.


	Here, the State did not rely exclusively on Deputy Pikett's evidence; instead, there was plenty of other
evidence adduced which was inculpatory as Hall.  Therefore, unlike in Winfrey, the dog scent lineup evidence
was "merely supportive" in this case.  See id.  Moreover, the Winfrey court took care to note that "[c]ases
involving the use of dogs, usually bloodhounds, to track humans are abundant and the law is well settled in
regards to admissibility of such evidence . . . ."  Id. at *20-21.  Accordingly, Winfrey does not affect our
analysis as to the admissibility of the scent lineup evidence.
20.  The penal code defines "criminal street gang" as "three or more persons having a common
identifying sign or symbol or an identifiable leadership who continuously or regularly associate in the
commission of criminal activities."  Tex. Penal Code Ann. § 71.01(d) (Vernon 2003).


